                       Case 1:22-cv-02112-SCJ Document 2 Filed 05/26/22 Page 1 of 6

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       Northern District of Georgia


                       WENDY DEAN,                                     )
                                                                       )
                                                                       )
                                                                       )
                            Plaintiff(s)                               )
                                                                       )
                                v.                                           Civil Action No. 1:22-cv-2112
                                                                       )
 STARMOUNT PROPERTIES, LLC, EZRA JORDAN,                               )
          and SANDRA JORDAN                                            )
                                                                       )
                                                                       )
                           Defendant(s)                                )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) EZRA JORDAN
                                           19 Level Creek Rd.
                                           Sugar Hill, Georgia 30518




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                           SPEARS & FILIPOVITS, LLC
                                           315 W. Ponce de Leon Ave., Suite 865
                                           Decatur, GA 30030



       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.


                                                                                 KEVIN P. WEIMER
                                                                                CLERK OF COURT


Date:             05/26/2022                                                              s/Stephanie Wilson-Bynum
                                                                                          Signature of Clerk or Deputy Clerk
Case 1:22-cv-02112-SCJ Document 2 Filed 05/26/22 Page 2 of 6
Case 1:22-cv-02112-SCJ Document 2 Filed 05/26/22 Page 3 of 6
Case 1:22-cv-02112-SCJ Document 2 Filed 05/26/22 Page 4 of 6
Case 1:22-cv-02112-SCJ Document 2 Filed 05/26/22 Page 5 of 6
Case 1:22-cv-02112-SCJ Document 2 Filed 05/26/22 Page 6 of 6
